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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


  LARRY KLAYMAN,

                           Plaintiff

                  v.
                                                                  Case Number: 1:19-cv-20544-JEM
  THOMAS J. FITTON

                          Defendant.




             PLAINTIFF’S RESPONSE TO ORDER ON MOTION TO CONTINUE

          Plaintiff Larry Klayman respectfully requests that, in light of its order of April 8, 2019

  with regard Plaintiff’s Request to Reschedule Oral Argument, this Court provide dates that it is

  available for oral argument on this matter. So as not to burden this Court with additional

  motions, upon receipt of this information, Plaintiff will be able to confer with opposing counsel

  expeditiously to reach a mutually convenient date and time for all parties involved and the Court.

  Dated: April 8, 2019                                             Respectfully Submitted,

                                                                      /s/ Larry Klayman
                                                                   Larry Klayman, Esq.
                                                                   FL Bar No. 246220
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                                                                   c/o 2020 Pennsylvania Ave., N.W.
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                                                                   Washington, D.C. 20006
                                                                   Telephone: (561) 558-5563
                                                                   Email: leklayman@gmail.com

                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed electronically and

  served through the court’s ECF system to all counsel of record or parties on April 8, 2019.




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                                           /s/ Larry Klayman




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